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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 1:21-CV-21384-MOORE/LOUIS

  MARLENIS RIVERA REYES,

         Plaintiff,

  vs.

  ADAM HOME#2, INC. and
  FRANCISCO GARCIA SANTIRZO,

        Defendants.
  ______________________________/

                           JOINT STIPULATION FOR RULE 41
                        VOLUNTARY DISMISSAL WITH PREJUDICE

         Plaintiff and Defendants, through their respective undersigned counsel, stipulate to the

  voluntary dismissal of this action with prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), upon

  condition that the Court retain jurisdiction for a period of 6 months to enforce the parties’

  settlement agreement. See Anago Franchising, Inc. v. Shaz, LLC, 677 F.3d 1272 (11th Cir. 2012).

         Respectfully submitted on this 3rd day of September 2021.


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